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                                              Attorney for Plaintiff Wesley Szarejko
                                         7
                                         8                       UNITED STATES DISTRICT COURT
                                         9                            DISTRICT OF NEVADA
                                         10   Wesley Szarejko,                               Case No.: 2:20-cv-00239-GMN-VCF
8860 South Maryland Parkway, Suite 106




                                         11
                                                                         Plaintiff,          Stipulation to extend time for
                                         12
       Las Vegas, Nevada 89123




                                                    v.                                       Plaintiff to respond to motion to
                                         13                                                  dismiss
             KIND LAW




                                              MRS Associates, Inc et al,
                                         14                                                  (First request)
                                         15                              Defendant.
                                         16
                                                    Wesley Szarejko (“Plaintiff”) and MRS Associates, Inc et al (“Defendant” and
                                         17
                                              together with Plaintiff as the “parties”), by and through their respective counsel,
                                         18
                                              hereby submit this stipulation for an extension of time for Plaintiff to respond to
                                         19
                                              Defendant’s motion to dismiss. Plaintiff’s complaint was filed on February 4, 2020.
                                         20
                                              Defendant filed its currently pending motion to dismiss on April 3, 2020 and
                                         21
                                              Plaintiff’s opposition is currently due on April 17, 2020.
                                         22
                                                    In good faith and not for the purposes of delay, Plaintiff requested an
                                         23
                                              extension and the parties in good faith stipulate to allow additional time for Plaintiff
                                         24
                                              to respond to the motion. This is the first request for an extension of this deadline.
                                         25
                                         26
                                         27
                                              ___________________
                                              STIPULATION                             —1—
                                                   Case 2:20-cv-00239-GMN-VCF Document 19 Filed 04/20/20 Page 2 of 2




                                         1          The parties therefore stipulate that Plaintiff’s response to Defendant’s motion
                                         2    to dismiss shall be due on or before May 1, 2020.
                                         3          DATED: April 16, 2020.
                                         4
                                                    KIND LAW
                                         5
                                         6          /s/ Michael Kind
                                                    Michael Kind, Esq.
                                         7          8860 South Maryland Parkway, Suite 106
                                         8          Las Vegas, Nevada 89123
                                                    Attorney for Plaintiff Wesley Szarejko
                                         9
                                         10         MOSS & BARNETT

                                         11         /s/ Bradley Armstrong
                                         12         Bradley Armstrong, Esq.
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                                         14
                                                    Raleigh C. Thompson, Esq.
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                                         15         Ryan Lower, Esq.
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                                                    411 E. Bonneville Ave., Ste. 360
                                         17         Las Vegas, Nevada 89101
                                         18         Attorney for MRS Associates, Inc

                                         19
                                                                              IT IS SO ORDERED:
                                         20
                                         21                                   ____________________________________
                                         22                                   Gloria M. Navarro, District Judge
                                                                              UNITED STATES DISTRICT COURT
                                         23
                                         24                                   DATED this ___
                                                                                          20 day of April, 2020.


                                         25
                                         26
                                         27
                                              ___________________
                                              STIPULATION                           —2—
